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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

UNITED STATES OF AMERICA,
                                           CASE NO. 05-80722-04
              Plaintiff,
                                           DISTRICT JUDGE PATRICK J. DUGGAN
v.
                                           MAGISTRATE JUDGE DONALD A. SCHEER
ROBERT MULLENS,

           Defendant.
_________________________________/

                                           ORDER

       Defendant Robert Mullens’ Motion for Government Agents and Law Enforcement

Officers to Retain Rough Notes was referred to the undersigned magistrate judge for

hearing and determination. The motion was set for hearing on August 22, 2006. The

parties, however, have waived oral argument and requested that the matter be determined

on their written submissions.

       Having reviewed Defendant’s Motion, together with the Government’s Response,

I find that the routine destruction of rough notes after the preparation of formal reports does

not violate the Jencks Act, Title 18 United States Code, Section 3500, or the holding in

Brady v. Maryland, 373 U.S. 83 (1963). See, United States v. Frederick, 583 F.2d 273,

cert. denied, 444 U.S. 860 (1978); United States v. Simtob, 901 F.2d 799, 809 (9th Cir.

1990). Such rough notes are not Jencks material and Defendant has no discovery right to

such documents. United States v. Hinton, 719 F.2d 711, 719-722 (4th Cir. 1983), cert.

denied, 104 S.Ct. 1300 (1981); United States v. Hurst, 510 F.2d 1035, 1036 (6th Cir. 1975).

It is therefore ordered that Defendant’s Motion for Government Agents and Law

Enforcement Officers to Retain Rough Notes is denied. Provided, however, that the
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Government shall honor the commitment expressed in its motion response to ensure that,

to the extent that investigators rough notes still exist, the Government will counsel its

agents to retain them pending trial.



                                           s/Donald A. Scheer
                                           DONALD A. SCHEER
                                           UNITED STATES MAGISTRATE JUDGE

DATED: August 23, 2006




_____________________________________________________________________

                               CERTIFICATE OF SERVICE

       I hereby certify on August 23, 2006 that I electronically filed the foregoing paper with
the Clerk of the Court sending notification of such filing to all counsel registered
electronically. I hereby certify that a copy of this paper was mailed to the following non-
registered ECF participants on August 23, 2006. None.

                                           s/Michael E. Lang
                                           Deputy Clerk to
                                           Magistrate Judge Donald A. Scheer
                                           (313) 234-5217
